          Case 1:22-cv-04046-ER          Document 1      Filed 05/17/22     Page 1 of 27




                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK




 JEREMY HOCKENSTEIN, for himself and
 all others similarly situated,
                                                        Civil Case Number: ___________
                                  Plaintiff,


                -against-                               COMPLAINT


 CIGNA HEALTH AND LIFE INSURANCE
 COMPANY,

                                  Defendant.




 Plaintiff alleges:

                                NATURE OF THIS ACTION

1.     Defendant violated the Employee Retirement Income Security Act of 1974 (ERISA), 29

       U.S.C. §§ 1001 et seq.

                                JURISDICTION AND VENUE

2.     Defendant regularly engages in business in the state of New York.

3.     Defendant caused harm to Plaintiff in New York as alleged more fully below.

4.     The Court has subject matter jurisdiction under 29 U.S.C. § 1132(e)(1); 28 U.S.C. § 1331;

       and 28 U.S.C. §§ 2201-2.

5.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and pursuant to 29

       U.S.C. § 1132(b).




                                                 1
        Case 1:22-cv-04046-ER          Document 1         Filed 05/17/22    Page 2 of 27




                                         PARTIES

6.    Named Plaintiff is a natural person and a resident of New York, New York.

7.    Defendant CIGNA Health and Life Insurance Company (“Cigna”) is an insurance company

      organized under the laws of Connecticut with a principal place of business located at 900

      Cottage Grove Road, Bloomfield, Connecticut 06002.

                                             ERISA

8.    Recognizing the centrality of employer sponsored benefits to the American healthcare

      system, Congress enacted the Employee Retirement Income Security Act of 1974 (ERISA),

      29 U.S.C. §§ 1001 et seq. To this day, millions of Americans rely on an employer

      sponsored plan for their healthcare coverage. To assure that beneficiaries are protected and

      are treated equitably, ERISA imposes fiduciary obligations on insurers – such as Cigna – in

      the processing of claims for healthcare benefits.

9.    As a fiduciary, an insurer in this context owes the highest standard of loyalty and prudence

      in the processing of participant and beneficiary healthcare claims.

10.   This action asserts that Cigna breached its fiduciary duties under ERISA, and under ERISA

      plan documents, by failing to reimburse, in full and without cost sharing or other medical

      cost management, the costs of diagnostic Covid-19 testing. This action further asserts

      Cigna failed to conduct “full and fair review” of its denial of diagnostic Covid-19

      reimbursement claims, and further asserts Cigna failed to provide adequate notice of the

      reasons for its denials of diagnostic Covid-19 testing claims.

11.   Following are relevant provisions of ERISA for purposes of this action:




                                                 2
  Case 1:22-cv-04046-ER         Document 1          Filed 05/17/22        Page 3 of 27




 ERISA §       29 USC §                                      Text

3(21)(A)     1002(21)(A)     “a person is a fiduciary with respect to a plan to the extent (i) he
                             exercises any discretionary authority or discretionary control
                             respecting management of such plan or exercises any authority or
                             control respecting management or disposition of its assets… (iii)
                             he has any discretionary authority or discretionary responsibility in
                             the administration of such plan. Such term includes any person
                             designated under section 1105(c)(1)(B) of this title.”

402(a)(1)    1102(a)(1)      “Every employee benefit plan shall be established and maintained
                             pursuant to a written instrument. Such instrument shall provide for
                             one or more named fiduciaries who jointly or severally shall have
                             authority to control and manage the operation and administration
                             of the plan.”

402(b)       1102(b)         “Every employee benefit plan shall—
                             (1) provide a procedure for establishing and carrying out a funding
                             policy and method consistent with the objectives of the plan and
                             the requirements of this subchapter,
                             (2) describe any procedure under the plan for the allocation of
                             responsibilities for the operation and administration of the plan
                             (including any procedure described in section 1105(c)(1) of this
                             title,
                             …
                             (4) specify the basis on which payments are made to and from the
                             plan.”

404(a)(1)    1104(a)(1)      “a fiduciary shall discharge his duties with respect to a plan solely
                             in the interest of the participants and beneficiaries and—
                             (A)for the exclusive purpose of:
                             (i)
                             providing benefits to participants and their beneficiaries; and…
                             (B)
                             with the care, skill, prudence, and diligence under the
                             circumstances then prevailing that a prudent man acting in a like
                             capacity and familiar with such matters would use in the conduct
                             of an enterprise of a like character and with like aims; [and]
                             …
                             (D)
                             in accordance with the documents and instruments governing the
                             plan insofar as such documents and instruments are consistent with
                             the provisions of this subchapter…”

405(c)(1)(B) 1105(c)(1)(B)   “The instrument under which a plan is maintained may expressly
                             provide for procedures… for named fiduciaries to designate
                             persons other than named fiduciaries to carry out fiduciary
                             responsibilities (other than trustee responsibilities) under the plan.”

502(a)       1132(a)         “A civil action may be brought—



                                           3
        Case 1:22-cv-04046-ER          Document 1          Filed 05/17/22        Page 4 of 27




                                    (1)
                                    by a participant or beneficiary
                                    …
                                    (B)
                                    to recover benefits due to him under the terms of his plan, to
                                    enforce his rights under the terms of the plan, or to clarify his
                                    rights to future benefits under the terms of the plan;
                                    (2)
                                    by the Secretary, or by a participant, beneficiary or fiduciary for
                                    appropriate relief under section 1109 of this title;
                                    (3)
                                    by a participant, beneficiary, or fiduciary (A) to enjoin any act or
                                    practice which violates any provision of this subchapter or the
                                    terms of the plan or (B) to obtain other appropriate equitable relief
                                    (i) to redress such violations or (ii) to enforce any provisions of this
                                    subchapter or the terms of the plan”

      503(1)        1133(1)         “In accordance with regulations of the Secretary, every employee
                                    benefit plan shall—
                                    (1) provide adequate notice in writing to any participant or
                                    beneficiary whose claim for benefits under the plan has been
                                    denied, setting forth the specific reasons for such denial, written in
                                    a manner calculated to be understood by the participant.”

      503(2)        1133(2)         “In accordance with regulations of the Secretary, every employee
                                    benefit plan shall—
                                    …
                                    (2) afford a reasonable opportunity to any participant whose claim
                                    for benefits has been denied for a full and fair review by the
                                    appropriate named fiduciary of the decision denying the claim.”



                                              FACTS

12.   Cigna issued insurance policy number 00632911 to The Educational Alliance (the,

      “Policy”).

13.   The Policy funds healthcare benefits for an employee welfare benefit plan within the

      meaning of 29 U.S.C. § 1002(3) (the, “Plan”).

14.   The Plan is governed by ERISA.

15.   Named Plaintiff was at all relevant times a beneficiary of the Policy and the Plan.




                                                  4
         Case 1:22-cv-04046-ER            Document 1      Filed 05/17/22      Page 5 of 27




16.   Cigna acts as a fiduciary with respect to the Plan pursuant to 29 U.S.C. § 1002(21)(A), and

      pursuant to 29 U.S.C. § 1105(c).        Cigna handles all claims for healthcare benefits,

      including making all claims determinations, under the Policy.

17.   Cigna promulgates a summary plan description (“SPD”) for the Plan, which provides in

      part (at p. 93):

              The Plan Administrator delegates to Cigna the discretionary
              authority to interpret and apply plan terms.... Such discretionary
              authority is intended to include, but not limited to… the
              determination of whether a person is entitled to benefits under the
              plan, and the computation of any and all benefit payments. The Plan
              Administrator also delegates to Cigna the discretionary authority to
              perform a full and fair review, as required by ERISA, of each claim
              denial which has been appealed by the claimant or his duly
              authorized representative.

18.   The SPD further states (at p. 5):

              We [i.e., Cigna] may, from time to time, offer or arrange for various
              entities to offer discounts, benefits, or other consideration to our
              members for the purpose of promoting the general health and well
              being of our members. We may also arrange for the reimbursement
              of all or a portion of the cost of services provided by other parties to
              the Policyholder.

19.   In March 2020, to address the emerging global Covid-19 pandemic, the United States

      Government passed the Families First Coronavirus Response Act, Pub. L. 116-127 (the

      “FFCRA”), followed by the Coronavirus Aid, Relief, and Economic Security Act Pub. L.

      116-134 (the, “CARES Act”). Pursuant to section 6001(a) of the FFCRA, and section 3202

      of the CARES Act, an insurer, such as Cigna, is obligated to reimburse in full the cost paid

      by a beneficiary for diagnostic Covid-19 testing, without imposing any cost-sharing, co-

      payments, deductibles, or coinsurance, regardless of whether the provider is in-network or

      out-of-network.




                                                  5
        Case 1:22-cv-04046-ER            Document 1       Filed 05/17/22      Page 6 of 27




20.   On January 16, 2022, Plaintiff obtained a diagnostic Covid-19 test from the office of Dr.

      Stuart B. Weiss, MD, for which Plaintiff paid $250 out of pocket, constituting full payment

      for the Covid test.

21.   The $250 fee charged by Dr. Weiss’s office was posted on the Internet at all relevant times.

22.   Dr. Weiss was an “out of network” provider for the Covid-19 test under the terms of the

      Policy.

23.   Plaintiff submitted a claim to Cigna for reimbursement of the $250 he paid. Cigna only

      approved and paid $51.31 in reimbursement to Plaintiff, otherwise denying Plaintiff’s

      claim and leaving Plaintiff to personally cover $198.69 of the cost of the Covid test.

24.   According to Cigna’s explanation of benefits (“EOB”), Cigna denied Plaintiff’s claim for

      $250 because there was a “Discount” of $198.69 applied to the Covid test. Cigna wrote

      (emphasis original):

                “You saved $198.69. Cigna negotiates discounts with health care
                professionals and facilitates to help you save money.”

      This was simply not true. Plaintiff was charged, and Plaintiff in fact paid, at the time

      services were rendered, the full $250 for the subject test, for which Plaintiff submitted the

      claim to Cigna.

25.   By letter dated February 4, 2022, Plaintiff timely submitted a grievance letter to Cigna

      contesting its claim determination. Plaintiff highlighted the fact that Cigna was wrong to

      assert it had negotiated a discount, as Plaintiff had in fact paid the full $250 cost of the

      Covid test. Plaintiff further asserted the test should be fully covered under the CARES Act.

      Plaintiff wrote (emphasis original):

                I am submitting this Grievance to request that you cover the full cost
                of $250 for the out-of-network covid test I received on January 16,
                2022, provided by Dr. Stuart B. Weiss. Cigna appears to have



                                                   6
        Case 1:22-cv-04046-ER          Document 1       Filed 05/17/22     Page 7 of 27




             provided partial coverage (about $53) for this test, leaving us to
             cover the remainder of the cost. The claim ID for my covid test is
             …. Cigna writes in the explanation of benefits that it negotiated a
             discount for this service, but that is not true. I paid the full $250
             charged by the provider. Please reimburse us the full $250. Under
             the CARES Act, this test should be fully covered, even though the
             provider was out-of-network. Additionally could you please provide
             Cigna's policies for covering out-of-network covid tests. I do not see
             this issue addressed in my plan documents.

26.   By letter dated March 3, 2022 addressed to Plaintiff, Cigna denied Plaintiff’s grievance,

      and affirmed its coverage determination. Cigna wrote:

             We use a methodology similar to Medicare to determine
             reimbursement for the same or similar service within a geographic
             market. Because we don’t have any information that supports a
             reason to pay more than the Maximum Reimbursable Charge, we
             won’t pay anything more towards this claim.
             …
             The Maximum Reimbursable Charge for covered services is
             determined based on the lesser of:
                 o The provider’s normal charge for a similar service or supply;
                    or
                 o A policyholder-selected percentage of a schedule developed
                    by Cigna that is based upon a methodology similar to a
                    methodology utilized by Medicare to determine the allowable
                    fee for the same or similar service within the geographic
                    market.

27.   Cigna’s March 3 letter to Plaintiff contradicts Cigna’s EOB. Cigna’s EOB claims that

      Cigna negotiated a discount with Dr. Weiss to benefit Plaintiff; that Cigna paid, in full, a

      negotiated rate; and that Plaintiff “saved $198.69.” In contrast, Cigna’s March 3 letter

      claimed that Cigna paid either the “provider’s normal charge” – not a discounted rate – or

      that Cigna paid an amount methodologically derived (“based upon a methodology similar

      to… Medicare”), eschewing the notion of any negotiated rate between Cigna and Dr. Weiss

      altogether.




                                                7
        Case 1:22-cv-04046-ER            Document 1        Filed 05/17/22    Page 8 of 27




28.   Cigna’s March 3 letter contradicts the plain requirements of the FFCRA and CARES Act,

      under which Cigna is obligated to reimburse for Covid testing in full – not at some other

      price determined by a “schedule” with a “methodology similar to… Medicare.”

29.   Cigna’s March 3 letter is altogether incomprehensible to an ordinary beneficiary. Cigna’s

      March 3 letter failed to inform Plaintiff, and more generally, would fail to inform any

      reasonable person, how Cigna arrived at the determination to cover $51.31 – but no more –

      toward Plaintiff’s $250 Covid test.

30.   In its March 3 letter, Cigna completely ignored Plaintiff’s assertion that he had paid the full

      $250 cost of the Covid test out of pocket, and completely ignored Plaintiff’s assertion that

      the Covid test should be covered under the CARES Act.

31.   Cigna’s March 3 letter provides no information regarding additional documentation

      Plaintiff should provide to obtain full coverage for his Covid-19 test. If, with further

      documentation from Plaintiff, Cigna would cover the costs of Plaintiff’s Covid-19 test, then

      Cigna was obligated to disclose the same pursuant to 29 CFR § 2560.503-1(g), and

      pursuant to the terms of the Plan promulgated by Cigna in the SPD (at p. 86), stating,

      “Every notice of an adverse benefit determination… will include… a description of any

      additional material or information necessary to perfect the claim.”

32.   Cigna’s claim processing of Plaintiff’s January 16 Covid test was not an isolated incident,

      but rather, part of a general pattern and practice. On September 6, 2021, and on September

      27, 2021, Plaintiff obtained for himself and two of his dependents Covid-19 tests at Dr.

      Weiss’s office. Plaintiff was charged the full $250 price for each such test, paid the same,

      and submitted a claim to Cigna for full reimbursement. Cigna denied, at least in part, all of

      Plaintiff’s claims as set forth in the following chart:




                                                   8
         Case 1:22-cv-04046-ER            Document 1       Filed 05/17/22      Page 9 of 27




       Beneficiary      Test Date    Plaintiff    Cigna            Cigna Asserts in EOB
                                       Paid      Covered

      Dependent 1       9/6/2021     $250        $153.93     Patient Responsibility $96.07

      Plaintiff         9/27/2021    $250        $76.97      Patient responsibility $173.03

      Dependent 2       9/27/2021    $250        $153.93     Patient Responsibility $0;
                                                             Cigna negotiated discount of $96.07


33.   In each instance noted in the chart above, Plaintiff and Plaintiff’s dependents obtained the

      same services from Dr. Weiss’s office.

34.   As set forth in the above chart, Cigna’s claims processing was inconsistent and

      contradictory. For Dependent 2, Cigna claimed to have negotiated a discount for Covid-19

      testing with Dr. Weiss’s office, such that Plaintiff’s responsibility was “$0.” This was

      false. Plaintiff received no discount from Dr. Weiss’s office, and Plaintiff’s responsibility

      was not $0.

35.   Still further, when it came to Plaintiff’s September 2021 Covid test, and that of Dependent

      1, Cigna did not purport to have negotiated any discount at all with Dr. Weiss’s office.

      Cigna claimed Plaintiff was responsible for some – but in each case, conflicting amounts –

      of the $250 bill for these tests.

36.   Plaintiff undertook diligent efforts to obtain coverage from Cigna for the September 2021

      Covid tests he obtained for himself and his dependents.

37.   Plaintiff submitted grievance letters to Cigna, contesting its claims determination for

      coverage of the September 2021 Covid-19 tests Plaintiff and his dependents had obtained.

      Plaintiff asserted that he paid in full the $250 charged by the provider, and that such Covid-

      19 testing should be covered in full under the CARES Act, without regard to in-network or

      out-of-network status.




                                                   9
        Case 1:22-cv-04046-ER          Document 1       Filed 05/17/22      Page 10 of 27




38.   In each case, Cigna upheld its claims determination. In each case, Cigna ignored, and did

      not respond, to Plaintiff’s assertion that the subject Covid-19 tests should be covered in full

      under the CARES Act.

39.   Cigna’s responses to Plaintiff contained almost precisely the same boilerplate language

      pertaining to limits on the “Maximum Reimbursable Charge,” the provider’s “normal

      charge,” and a purported “methodology similar to… Medicare,” appearing in Cigna’s

      March 3, 2022, letter to Plaintiff cited above.

40.   Plaintiff could not possibly know, and indeed, to this day does not know, the basis for

      Cigna’s claims determinations, or, indeed, whether there is any rhyme or reason at all to

      Cigna’s landing upon the reimbursement rates of $76.97, or $153.93, or $51.31 – all for the

      same service, from the same provider, for which Plaintiff paid the same $250.

41.   To this day, Plaintiff does not know, and cannot know, why Cigna has failed to cover the

      subject Covid-19 tests in accordance with the FFCRA and CARES Act, or what further

      documentation Plaintiff should provide to obtain such coverage.

42.   Cigna’s March 3, 2022, letter to Plaintiff denying his grievance, and Cigna’s responses to

      each of Plaintiff’s grievances pertaining to the September 6 and September 27, 2021

      Covid-19 tests, confirmed that Plaintiff exhausted internal remedies, and that any claim

      Plaintiff might have could thereafter proceed in court.

                      CLASS ALLEGATIONS COMMON TO ALL COUNTS

43.   Each Count below is brought by Plaintiff for himself, and on behalf of a class of similarly

      situated individuals, pursuant to Rule 23 of the Federal Rules of Civil Procedure (“FRCP”).

44.   As used in this complaint, the following terms have the following meanings:




                                                 10
        Case 1:22-cv-04046-ER            Document 1       Filed 05/17/22       Page 11 of 27




             •    “Class Period” means the time period beginning March 27, 2020, and through

                  the earlier of: (a) the certification of the class in this matter, or (b) the

                  termination of the emergency period described in section 6001(a) of the

                  FFCRA.

             •    “Cigna ERISA Plan” means an ERISA employee health benefit plan which

                  delegates to Cigna discretionary authority to process claims thereunder.

45.   Count I is brought by Plaintiff for himself and the following class (the “Dr. Weiss Claims

      Processing Class”):

                 All participants or beneficiaries of a Cigna ERSIA Plan; who
                 obtained an in-person diagnostic Covid-19 test during the Class
                 Period from the office of Dr. Stuart B. Weiss; who paid for such
                 diagnostic Covid-19 test; who submitted a claim to Cigna therefor;
                 and who Cigna failed to reimburse, in full, for such claim.

46.   As alleged more fully below, Count I alleges Cigna processed claims for diagnostic Covid-

      19 testing performed by the office of Dr. Stuart B. Weiss in violation of its fiduciary duties,

      by failing to reimburse such claims in full and without cost-sharing.

47.   Count II is brought by Plaintiff for himself and the following class (the “Dr. Weiss Claims

      Review Class”):

                 All participants or beneficiaries of a Cigna ERISA Plan; who
                 obtained an in-person diagnostic Covid-19 test during the Class
                 Period from the office of Dr. Stuart B. Weiss; who paid for such
                 diagnostic Covid-19 test; who submitted a claim to Cigna therefor,
                 which Cigna failed to reimburse in full; who thereafter submitted
                 an appeal or grievance for Cigna to review its claims denial; and
                 where Cigna, following the submission of such appeal or
                 grievance, failed to cover, in full, the cost of the subject diagnostic
                 Covid-19 test.




                                                   11
        Case 1:22-cv-04046-ER            Document 1      Filed 05/17/22      Page 12 of 27




48.   As alleged more fully below, Count II alleges Cigna failed to have a process for performing

      full and fair review of its denial of claims for reimbursement of diagnostic Covid-19 testing

      performed by the office of Dr. Stuart Weiss.

49.   Count III is brought by Plaintiff for himself and the following class (“Nationwide

      Inadequate Notice Class”):

               All participants or beneficiaries of a Cigna ERISA Plan; who
               obtained an in-person (not over-the counter) diagnostic Covid-19
               test during the Class Period; who paid for such diagnostic Covid-
               19 test; who submitted a claim to Cigna therefor, which Cigna
               failed to reimburse in full; who thereafter submitted an appeal or
               grievance for Cigna to review its claims denial; and where Cigna,
               following the submission of such appeal or grievance, responded
               with a denial letter in substantially the same form as Cigna’s
               March 3, 2022 letter to Named Plaintiff.
50.   As alleged more fully below, Count III alleges Cigna failed to provide adequate notice, in a

      form reasonably calculated to be understood, of the specific reasons Cigna denied coverage

      for diagnostic Covid-19 testing.

51.   Plaintiff preserves the right to amend any of the class definitions, or to seek certification of

      one or more additional or alternative classes, or one or more sub-classes.

52.   Cigna acts as a fiduciary with respect to each Cigna ERISA Plan, pursuant to 29 U.S.C. §

      1002(21)(A) and pursuant to 29 U.S.C. § 1105(c). Upon information and belief, pursuant

      to delegation of authority by each Cigna ERISA Plan administrator, Cigna processes claims

      for healthcare benefits, including making all claims determinations, under each Cigna

      ERISA Plan.

53.   Each Count is brought under 29 U.S.C. § 1132(a)(3) to enjoin Cigna’s violations of ERISA

      and violations of the terms of Cigna ERISA Plans; to obtain appropriate equitable relief to

      redress such violations; and to enforce the provisions of ERISA and Cigna ERISA Plans

      against Cigna. This action seeks equitable remedies, including, inter alia, judgement


                                                 12
        Case 1:22-cv-04046-ER          Document 1       Filed 05/17/22     Page 13 of 27




      compelling Cigna to reprocess its claims determinations for class members’ diagnostic

      Covid-19 testing; corrective disclosure from Cigna; and a surcharge against Cigna.

54.   Named Plaintiff and class members are appropriate parties to assert such claims, under the

      holding of Varity Corp. v. Howe, 516 U.S. 489 (1996).

55.   Each Count alleged below satisfies the requirements of FRCP 23(a).

             (a) Numerosity.     Members of the classes are so numerous that joinder is

                 impractical. Cigna is a nationwide health insurer which administers healthcare

                 claims for millions of participants and beneficiaries. Upon information and

                 belief, Dr. Weiss’s office provided diagnostic Covid-19 tests to thousands of

                 people during the relevant time period, many of whom were surely participants

                 or beneficiaries under Cigna ERISA Plans. The numerosity requirement of

                 Rule 23(a) will easily be satisfied.

             (b) Commonality. There are questions of law and fact common to class members

                 within each of the class claims, including:

                   i. With respect to Count I, whether Cigna violated its fiduciary duties under

                      ERISA and Cigna ERISA Plans, by denying class member claims for

                      reimbursement of diagnostic Covid-19 tests;

                  ii. With respect to Count II, whether Cigna violated 29 USC § 1133(2), and

                      the terms of Cigna ERISA Plans, by failing to afford full and fair review

                      of its denials of participant and beneficiary claims for reimbursement of

                      diagnostic Covid-19 tests; and

                  iii. With respect to Count III, whether Cigna violated 29 USC §1133(1), and

                      the terms of Cigna ERISA Plans, by failing to provide adequate notice, in




                                                 13
Case 1:22-cv-04046-ER        Document 1       Filed 05/17/22   Page 14 of 27




            a form reasonably calculated to be understood by beneficiaries and

            participants, of the specific reasons claims for reimbursement of Covid-19

            diagnostic testing were denied.

    (c) Upon information and belief, relevant terms of Cigna ERISA Plans and related

       documentation are contained in standard form documents and are materially the

       same, and accordingly are susceptible of class treatment. These include:

         i. The delegation to Cigna of discretionary authority for, “the determination

            of whether a person is entitled to benefits under the plan, and the

            computation of any and all benefit payments”;

         ii. The delegation to Cigna of, “discretionary authority to perform a full and

            fair review, as required by ERISA, of each claim denial”;

        iii. The process for grievances and appeals set forth in Cigna’s summaries of

            plan benefits;

        iv. Cigna’s grievance denial letters, in the form sent to named Plaintiff

            alleged more fully above, including with respect to referenced to the

            “Maximum Reimbursable Charge,” the “provider’s normal charge,” and a

            purported “methodology similar to… Medicare.”

    (d) Typicality. Named Plaintiff’s claims are typical of class members’ claims.

       With respect to the “Dr. Weiss Claims Processing Class,” just as named

       Plaintiff paid for a diagnostic Covid-19 test from Dr. Weiss, submitted a claim

       to Cigna, and was denied reimbursement, so too class members. With respect to

       the “Dr. Weiss Claims Review Class,” just as Named Plaintiff submitted an

       appeal to Cigna seeking reimbursement for his out-of-pocket payment for a




                                     14
        Case 1:22-cv-04046-ER          Document 1       Filed 05/17/22      Page 15 of 27




                  diagnostic Covid test with Dr. Weiss, and Cigna thereafter declined coverage,

                  so too class members. With respect to the “Nationwide Inadequate Notice

                  Class,” just as Named Plaintiff was not provided a reasonable explanation for

                  Cigna’s coverage determination in Cigna’s March 3, 2022 letter to Plaintiff, so

                  too class members were not provided a reasonable explanation of Cigna’s

                  claims denial for diagnostic Covid-19 testing in letters of substantially the same

                  form.

               (e) Adequacy. Named Plaintiff and undersigned counsel are adequate to represent

                  the class.   Named Plaintiff is prepared to represent the interests of class

                  members, and has retained experienced counsel to do so.

56.   Each of the classes alleged is ascertainable. Upon information and belief, Cigna maintains

      records of participant and beneficiary claims; Cigna maintains records of which claims are

      submitted under ERISA plans; Cigna maintains records pertaining to participant and

      beneficiary claim submissions, including diagnostic codes, CPT codes, and/or other coding

      systems sufficient to identify class members who submitted claims for diagnostic Covid-19

      tests during the Class Period; and Cigna maintains records of coverage determinations and

      communications pertaining thereto for beneficiaries and participants of Cigna ERISA

      Plans.

                                   COUNT I
                                29 U.S.C. § 1104
                CLAIMS PROCESSING IN BREACH OF FIDUCIARY DUTY

57.   All preceding paragraphs are re-alleged.

58.   Count I is brought by Plaintiff for himself and the “Dr. Weiss Claims Processing Class”

      defined above.




                                                 15
        Case 1:22-cv-04046-ER            Document 1      Filed 05/17/22      Page 16 of 27




59.   For each Cigna ERISA Plan, Cigna’s determination of reimbursements for beneficiary

      healthcare coverage, including diagnostic Covid-19 tests, is within the scope of Cigna’s

      “duties with respect to the plan,” as that phrase is used in 29 U.S.C. § 1104.

60.   As a fiduciary, Cigna is obligated to discharge its obligations with respect to each Cigna

      ERISA Plan under a prudent standard of care, pursuant to 29 U.S.C. § 1104. Cigna must

      discharge its obligations:

             •   solely in the interests of plan participants and beneficiaries;

             •   for the exclusive purpose of providing benefits to participants and beneficiaries;

                 and

             •   with reasonable care, skill, diligence, and prudence.

61.   Cigna violated the FFCRA and the CARES Act by failing to reimburse Plaintiff’s January

      16, 2022, Covid-19 test in full.

62.   Cigna violated the FFCRA and CARES Act by failing to reimburse, in full, the diagnostic

      Covid-19 tests obtained by each member of the class.

63.   Cigna’s violation of the FFCRA and CARES Act constitutes a failure, as a matter of law, to

      discharge its fiduciary duties with reasonable care, skill, diligence and prudence.          A

      prudent fiduciary, and one acting with reasonable skill, care and diligence, would comply

      with the FFCRA and CARES Act in handling participant and beneficiary claims for

      diagnostic Covid-19 tests.

64.   Cigna’s violation of the FFCRA and CARES Act constitutes a failure, as a matter of law, to

      discharge its fiduciary duties solely in the interests of, and for the purpose of providing

      benefits to, participants and beneficiaries. A fiduciary discharging its duties for the benefit

      of plan beneficiaries would comply with the FFCRA and CARES Act in handling claims




                                                 16
        Case 1:22-cv-04046-ER          Document 1        Filed 05/17/22    Page 17 of 27




      for diagnostic Covid-19 tests, and would cover such claims in full, and without cost

      sharing, as required by law.

65.   A fiduciary properly discharging its obligations would treat like cases alike, as required by

      29 CFR § 2560.503-1(b)(5), and in so doing, reimburse, in full, all beneficiaries and

      participants for the costs of diagnostic Covid-19 tests. Cigna failed to meet this standard,

      and instead made inconsistent and haphazard coverage determinations.

66.   Cigna’s has offered false, contradictory, and inadequate explanations concerning its

      coverage determinations for reimbursement of diagnostic Covid-19 testing, including:

          (a)   Cigna’s false statements in its EOB for Plaintiff’s January 16 Covid test, stating
                Plaintiff’s responsibility was “$0,” when Plaintiff had paid in full;
          (b)   Cigna’s March 3, 2022 letter to Plaintiff, which claimed it was reimbursing at a
                rate that was “normal” or methodologically derived, contradicting its EOB which
                claimed to have negotiated a rate for Plaintiff’s Covid test and that, “You [i.e.,
                Plaintiff] saved $198.69”;
          (c)   Cigna’s issuing haphazard and inconsistent claims determinations for the
                identical Covid-19 tests for Plaintiff and his dependents in September 2021,
                performed by the same provider, for which Plaintiff paid the same amount,
                which Plaintiff submitted for reimbursement.
67.   A fiduciary properly exercising its responsibilities with requisite skill, care and prudence

      would provide accurate and consistent explanations to beneficiaries. Cigna’s inconsistent

      and inaccurate disclosures are evidence that Cigna lacks a sound basis for denying

      beneficiary and participant claims for reimbursement of diagnostic Covid-19 tests, and that

      Cigna’s denial of such claims is a breach of its fiduciary duties.

68.   No requirement should be imposed on each class member individually to exhaust Cigna’s

      internal claims review procedures. Any such exhaustion would be futile. Named Plaintiff

      submitted four Covid-19 test claims to Cigna for reimbursement, and Cigna denied, in part,

      all four. Named Plaintiff appealed all four denials, and all four appeals were denied by

      Cigna. As alleged more fully above, Cigna lacks a policy for covering class members’


                                                 17
        Case 1:22-cv-04046-ER             Document 1    Filed 05/17/22      Page 18 of 27




      claims for reimbursement of Covid-19 testing. Absent such a policy, Cigna’s appeals

      review process will provide no better results than its claims processing.

69.   Moreover, class members assert statutory violations of ERISA for which internal

      exhaustion is altogether unnecessary.

70.   The requirements of Rule 23(b) of the Federal Rules of Civil Procedure are satisfied with

      respect to the class.

              (a) Plaintiff may seek certification under FRCP 23(b)(1)(A) and 23(b)(1)(B).

                  Cigna is required by law to treat like cases alike, and accordingly, adjudication

                  of Plaintiff’s claims may, in whole or in part, establish standards for class

                  members as a whole.

              (b) Plaintiff may seek certification pursuant to FRCP 23(b)(2).       Plaintiff seeks

                  equitable remedies pursuant to ERISA, and accordingly, an award of class wide

                  injunctive and declaratory relief is appropriate.    The class claim seeks an

                  indivisible equitable remedy, specifically a single policy and practice by Cigna

                  of reimbursing beneficiary and participant claims for reimbursement for

                  diagnostic Covid-19 testing, and enforcement thereof.

              (c) Plaintiff may seek certification pursuant to FRCP 23(b)(3) because common

                  questions of law and fact predominate the class claims, including:

                    i. whether Cigna is subject to a fiduciary duty under ERISA or Cigna ERISA

                        Plans to reimburse beneficiaries and participants who pay for diagnostic

                        Covid-19 tests;

                    ii. whether Cigna’s policies and procedures for reimbursement of beneficiary

                        and participant diagnostic Covid-19 testing complied with, or alternatively




                                                 18
        Case 1:22-cv-04046-ER         Document 1       Filed 05/17/22     Page 19 of 27




                       violated, Cigna’s fiduciary duties under ERISA and the terms of Cigna

                       ERISA Plans;

                  iii. whether Cigna treated like cases alike in reimbursements for diagnostic

                       Covid-19 testing, and whether Cigna’s failure to do so constitutes a breach

                       of its fiduciary duties under ERISA and the terms of Cigna ERISA Plans.

             (d) The requirements of FRCP 23(b)(3) are further satisfied because a class action

                 is a superior means of adjudicating this controversy. Individual claims are

                 relatively small in value, making separate litigation uneconomical. Further,

                 individual class members may be unaware of their rights asserted in this

                 litigation.

71.   As to each member of the class, Cigna’s failures to meet the standard of conduct set forth

      in 29 U.S.C. § 1104, including specifically Cigna’s failure to reimburse in full the cost of

      diagnostic Covid-19 tests, constitutes a violation of the terms of ERISA, and the terms of

      the plan under which Cigna exercises discretionary authority to determine healthcare

      reimbursements to beneficiaries.

72.   Cigna’s violations of ERISA, and the terms of each Cigna ERISA Plan, cause harm to

      Plaintiff and class members.

73.   The Court should enter judgement enjoining such violations; awarding appropriate

      equitable relief to redress such violations; and enforcing the provisions of ERISA, and the

      terms of Cigna ERISA Plans, against Cigna.

                                    COUNT II
                                29 U.S.C. § 1133(2)
                    FAILURE TO AFFORD FULL AND FAIR REVIEW

74.   All preceding paragraphs are re-alleged.




                                                 19
        Case 1:22-cv-04046-ER          Document 1        Filed 05/17/22   Page 20 of 27




75.   Count II is brought by Plaintiff for himself and the “Dr. Weiss Claims Review Class”

      defined above.

76.   As alleged more fully above, Named Plaintiff submitted a claim to Cigna for his January

      16, 2022, Covid-19 test; was denied coverage by Cigna; and Plaintiff thereafter submitted a

      grievance to Cigna to review its claims determination, after which Cigna upheld its denial

      of Plaintiff’s claim, and refused to provide full coverage.

77.   The Plan, and upon information and belief Cigna ERISA Plans generally, delegate to

      Cigna, “discretionary authority to perform a full and fair review, as required by ERISA, of

      each claim denial which has been appealed by the claimant or his duly authorized

      representative.”

78.   Cigna’s March 3, 2022 letter to Plaintiff, denying Plaintiff’s appeal of Cigna’s claims

      determination for Plaintiff’s diagnostic Covid-19 test, constituted a failure by Cigna to

      conduct a full and fair review, as required by ERISA, of Plaintiff’s claim for coverage.

      Had Cigna performed a full and fair review of Plaintiff’s claim, Cigna would have

      recognized that Plaintiff’s claim for coverage for a diagnostic Covid-19 test should have

      been covered in full.

79.   Where Cigna denied reimbursement to class members for diagnostic Covid-19 testing, any

      “full and fair review” of the claim denial should have uncovered the fact that Cigna’s claim

      determination violated the FFCRA and CARES Act, and that Cigna’s claim determination

      should have been corrected, to provide full reimbursement to the claimant.

80.   Cigna failed, as a matter of law, to provide a “full and fair review” in each instance where

      it denied a class member’s appeal of a claim denial for reimbursement of diagnostic Covid-

      19 testing.




                                                 20
        Case 1:22-cv-04046-ER             Document 1    Filed 05/17/22     Page 21 of 27




81.   Each member of the class exhausted Cigna’s internal remedies by submitting an appeal or

      grievance challenging Cigna’s claim denial.

82.   The requirements of Rule 23(b) of the Federal Rules of Civil Procedure are satisfied with

      respect to the class.

              (a) Plaintiff may seek certification under FRCP 23(b)(1)(A) and 23(b)(1)(B).

                  Cigna is required by law to treat like cases alike, and accordingly, adjudication

                  of Plaintiff’s claims may, in whole or in part, establish standards for class

                  members as a whole.

              (b) Plaintiff may seek certification pursuant to FRCP 23(b)(2).       Plaintiff seeks

                  equitable remedies pursuant to ERISA, and accordingly, an award of class wide

                  injunctive and declaratory relief is appropriate.    The class claim seeks an

                  indivisible equitable remedy, specifically a single policy and practice by Cigna

                  of providing full and fair review and reprocessing Cigna’s claims denials for

                  reimbursement of diagnostic Covid-19 testing, and enforcement thereof.

              (c) Plaintiff may seek certification pursuant to FRCP 23(b)(3) because common

                  questions of law and fact predominate the class claims, including:

                    i. whether Cigna is subject to a fiduciary duty under ERISA or Cigna ERISA

                        Plans to reimburse beneficiaries and participants who pay for diagnostic

                        Covid-19 tests;

                    ii. whether Cigna is subject to a duty to conduct a full and fair review of the

                        denial of claims for reimbursement of diagnostic covid-19 testing;




                                                 21
        Case 1:22-cv-04046-ER          Document 1        Filed 05/17/22      Page 22 of 27




                  iii. whether Cigna’s policies and procedures for review of claims for

                       reimbursement of diagnostic Covid-19 testing satisfied its obligations to

                       conduct a full and fair review under ERISA and Cigna ERISA Plans;

             (d) The requirements of FRCP 23(b)(3) are further satisfied because a class action

                 is a superior means of adjudicating this controversy. Individual claims are

                 relatively small in value, making separate litigation uneconomical. Further,

                 individual class members may be unaware of their rights asserted in this

                 litigation.

83.   As to each member of the class, Cigna’s failures to conduct a full and fair review of its

      denial of claims for reimbursement of diagnostic Covid-19 testing constitutes a violation of

      the terms of ERISA and the terms of the Plan under which Cigna exercises discretionary

      authority to determine healthcare reimbursements to beneficiaries, and under which Cigna

      is delegated the authority to conduct full and fair review of claims denials.

84.   Cigna’s violations of ERISA, and the terms of each Cigna ERISA Plan, cause harm to

      Plaintiff and class members.

85.   The Court should enter judgement enjoining such violations; awarding appropriate

      equitable relief to redress such violations; and enforcing the provisions of the of ERISA,

      and the terms of Cigna ERISA Plans, against Cigna.

                                     COUNT III
                                  29 U.S.C. § 1133(1)
                       FAILURE TO PROVIDE ADEQUATE NOTICE

86.   All preceding paragraphs are re-alleged.

87.   Count III is brought by Plaintiff for himself and the “Nationwide Inadequate Notice Class”

      defined above.




                                                 22
        Case 1:22-cv-04046-ER          Document 1       Filed 05/17/22      Page 23 of 27




88.   The Plan, and upon information and belief Cigna ERISA Plans generally, delegate to Cigna

      the responsibility to provide notice of adverse claims determinations as required by ERISA.

89.   Pursuant to 29 USC §1133(1), and pursuant to the terms of Cigna ERISA Plans generally,

      every notice of claim denial must set forth the specific reasons for such denial, in a manner

      calculated to be understood by the participant.

90.   Cigna’s letter of March 3, 2022 to named Plaintiff, states:

             Because we don’t have any information that supports a reason to pay
             more than the Maximum Reimbursable Charge, we won’t pay
             anything more towards this claim.
             …
             The Maximum Reimbursable Charge for covered services is
             determined based on the lesser of:
                 o The provider’s normal charge for a similar service or supply;
                    or
                 o A policyholder-selected percentage of a schedule developed
                    by Cigna that is based upon a methodology similar to a
                    methodology utilized by Medicare to determine the allowable
                    fee for the same or similar service within the geographic
                    market.


91.   Cigna’s March 3 letter to Plaintiff was false, or was not calculated to be clearly understood,

      in providing the reason for Cigna’s denial of Plaintiff’s claim for reimbursement of

      Plaintiff’s diagnostic Covid-19 test.       Cigna is prohibited by law from limiting

      reimbursement of diagnostic Covid-19 tests to, “the lesser of [t]he provider’s normal

      charge… or [a] policyholder-selected percentage of a schedule developed by Cigna…” In

      fact, under the CARES Act, Cigna is required to reimburse such claims at the provider’s

      normal charge.

92.   The “Maximum Reimbursable Charge” under Cigna ERISA Plans is a cap on benefits for

      out-of-network providers. Pursuant to the FFCRA and CARES Act, insurers are obligated

      to cover diagnostic Covid-19 tests without regard to in-network, or out-of-network status.



                                                23
        Case 1:22-cv-04046-ER           Document 1      Filed 05/17/22     Page 24 of 27




      By definition, the “Maximum Reimbursable Charge” under Cigna ERISA Plans should be

      irrelevant to coverage for diagnostic Covid-19 tests, and constitutes extraneous, irrelevant,

      or false information.

93.   As to named Plaintiff and each member of the class who received a letter of substantially

      the same form from Cigna after submitting a grievance or appeal for coverage of a claim

      for reimbursement of a diagnostic Covid-19 test, Cigna violated 29 USC §1133(1), and

      violated the terms of the governing Cigna ERISA Plan, which require Cigna to accurately

      and truthfully provide specific reasons for claims denials, in a manner calculated to be

      understood by the claimant.

94.   Each member of the class exhausted Cigna’s internal remedies by submitting an appeal or

      grievance challenging Cigna’s claim denial.

95.   The requirements of Rule 23(b) of the Federal Rules of Civil Procedure are satisfied with

      respect to the class.

              (a) Plaintiff may seek certification under FRCP 23(b)(1)(A) and 23(b)(1)(B).

                  Cigna is required by law to treat like cases alike, and accordingly, adjudication

                  of Plaintiff’s claims may, in whole or in part, establish standards for class

                  members as a whole.

              (b) Plaintiff may seek certification pursuant to FRCP 23(b)(2).       Plaintiff seeks

                  equitable remedies pursuant to ERISA, and accordingly, an award of class wide

                  injunctive and declaratory relief is appropriate.    The class claim seeks an

                  indivisible equitable remedy, specifically a single policy and practice by Cigna

                  of providing adequate notice of claims denials in a manner calculated to be

                  understood by the claimant for reimbursement of diagnostic Covid-19 claims, or




                                                24
        Case 1:22-cv-04046-ER         Document 1       Filed 05/17/22     Page 25 of 27




                 in the alternative, coverage determinations reimbursing claims for diagnostic

                 Covid-19 testing where Cigna lacks a reason to deny the same.

             (c) Plaintiff may seek certification pursuant to FRCP 23(b)(3) because common

                 questions of law and fact predominate the class claims, including, whether

                 Cigna is obligated to cover class members’ claims for reimbursement, and

                 whether Cigna’s application of a “Maximum Reimbursable Charge” provides an

                 adequate explanation for the denial of a claim for reimbursement of diagnostic

                 Covid-19 testing, or alternatively, constitutes extraneous and confusing

                 information which is not reasonably calculated to be understood by class

                 members.

             (d) The requirements of FRCP 23(b)(3) are further satisfied because a class action

                 is a superior means of adjudicating this controversy. Individual claims are

                 relatively small in value, making separate litigation uneconomical. Further,

                 individual class members may be unaware of their rights asserted in this

                 litigation.

96.   As to each member of the class, Cigna’s failures to provide reasonable notice, in a form

      calculated to be understood, of its denial of class members claims for reimbursement of

      diagnostic Covid-19 testing, constitutes a violation of the terms of ERISA, and the terms of

      the governing Cigna ERISA Plan.

97.   Cigna’s violations of ERISA, and the terms of each Cigna ERISA Plan, cause harm to

      Plaintiff and class members. Class members are deprived of valuable information to which

      they are entitled, and which they could use to contest Cigna’s claims determinations, or to




                                               25
              Case 1:22-cv-04046-ER          Document 1        Filed 05/17/22      Page 26 of 27




            supplement their claims submissions such that Cigna would cover their claims for

            reimbursement.

98.         The Court should enter judgement enjoining such violations; awarding appropriate

            equitable relief to redress such violations; and enforcing the provisions of the of ERISA,

            and the terms of Cigna ERISA Plans, against Cigna.



                                           PRAYER FOR RELIEF

WHEREFORE, Plaintiff, for himself and on behalf of the classes herein alleged, prays for relief

as follows:

      (a)     An order certifying the proposed classes herein alleged under Federal Rule of Civil

              Procedure 23 and appointing Plaintiff and undersigned counsel to represent same;

      (b)     A declaration that Defendants’ conduct complained of herein is unlawful;

      (c)     Equitable and injunctive relief sufficient to remedy Defendant’s unlawful conduct

              including judgement compelling Cigna to:

                  1) approve reimbursement of class member claims for diagnostic Covid-19 testing,

                      and tender payment therefor;

                  2) conduct full and fair review of Cigna’s claims denial for diagnostic Covid-19

                      testing, or, in the alternative, cover such claims in the event further review is

                      futile;

                  3) provide adequate notice in writing to class members whose claims for diagnostic

                      Covid-19 testing has been denied, setting forth the specific reasons for such

                      denial, written in a manner calculated to be understood, or in the alternative,

                      cover such claims;




                                                       26
        Case 1:22-cv-04046-ER         Document 1       Filed 05/17/22      Page 27 of 27




  (d)   Further equitable relief against Cigna including a surcharge;

  (e)   Reformation insofar as necessary to effect the provisions, the intent, and the purposes of

        ERISA and Cigna ERISA Plans;

  (f)   The creation of a common fund to provide notice of and remedy Defendant’s unlawful

        conduct;

  (g)   Attorneys’ fees, expenses and costs of this action;

  (h)   Interest as allowed by law; and

  (i)   All such further relief as the Court deems just and proper.

Dated: May 16, 2022
       White Plains, New York

                                                     POSNER LAW PLLC

                                                     s/ Gabriel Posner, Esq.
                                                     50 Main Street, Suite 1000
                                                     White Plains, New York 10606
                                                     Phone: (914) 517-3532
                                                     Email: gabe@posner.law
                                                     Counsel for Plaintiff




                                               27
